Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.28 Page 1 of 11



1    SAMANTHA B. JAFFE
     California State Bar No. 324731
2    Federal Defenders of San Diego, Inc.
     225 Broadway, Suite 900
3    San Diego, California 92101-5030
     Telephone: (619) 234-8467
4    Facsimile: (619) 687-2666
     Samantha_Jaffe@fd.org
5
     Attorneys for Defendant
6    Saya Souvannaseng
7
8                         UNITED STATES DISTRICT COURT
9                      SOUTHERN DISTRICT OF CALIFORNIA
10
11   United States of America,                Case No.: 22-CR-330-LL
12                      Plaintiff,            Hon. Linda Lopez
13         v.                                 Memorandum of Points & Authorities
                                              in Support of Motions to:
14   Saya Souvannaseng,                       (1) Compel Discovery;
                                              (2) Preserve Evidence, and
15                      Defendant.            (3) Leave to File Further Motions
16
17
     I.    Statement of Facts/Procedural History1
18
           On January 12, 2022, Mr. Souvannaseng was arrested by local police in San
19
     Diego, California. He was released on bond. According to the discovery produced on
20
     March 23, 2022, on January 20, 2022, Officer Chris Tews with the San Diego Police
21
     Department (“SDPD”) obtained a search warrant for 6030 Fennell Avenue. On
22
     January 27, 2022, SDPD searched 6030 Fennell Avenue, pursuant to the search
23
     warrant. Mr. Souvannaseng was not present, though three other individuals were.
24
     SDPD believed that Mr. Souvannaseng also resided at the residence.
25
26
27   1
      This statement of facts is based on the complaint and discovery provided by the
28   government. Mr. Souvannaseng does not accept this statement as his own, and
     reserves the right to take a contrary position at motions and trial.

                                              1                           22-CR-330-LL
Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.29 Page 2 of 11



1          On January 28, 2022, SDPD conducted a traffic stop after SDPD Officer
2    Crosby “saw a vehicle leaving a known illegal gambling den located in the 4000 block
3    of Winona Avenue.” During the traffic stop, SDPD Officer Basson identified Mr.
4    Souvannaseng as the passenger of the vehicle “by a prior booking photo.” Officer
5    Basson “had prior knowledge that there was probable cause to arrest Souvannaseng
6    for being a convicted felon in possession of ammunition.” Officers searched the
7    vehicle, and recovered a black handgun inside the dashboard.
8          Mr. Souvannaseng was arrested, and charged with being a felon in possession
9    of a firearm in state court. On February 8, 2022, Mr. Souvannaseng was charged
10   federally with being a felon in possession of a firearm, via a complaint. Dkt. # 1. He
11   made his initial appearance in federal court on February 14, 2022. Dkt. # 8. A
12   discovery request was sent to the United States Attorney’s Office by Federal Defenders
13   on February 16, 2022. On February 17, 2022, Mr. Souvannaseng was indicted for being
14   a felon in possession of a firearm and ammunition and criminal forfeiture, and on
15   February 24, 2022 he was arraigned on the indictment. Dkts. ## 13, 14.
16         On March 14, 2022 defense counsel set another discovery request to the United
17   States Attorney’s Office. On March 23, 2022, initial discovery was turned over. A
18   motion hearing was held on March 30, 2022, and a continuance was requested so that
19   defense counsel can review the discovery, which was not converted until March 29,

20   2022. This motion follows.

21         To date, defense counsel has received 170 pages of discovery, which

22   encompasses reports and photographs. Defense counsel has also received Mr.

23   Souvanasseng’s post-arrest interview and body camera footage. The below requests

24   are based on requests previously made on March 14, 2022, as well as requests based

25   on the discovery turned over on March 23, 2022.

26   II.   Motion to Compel Discovery
27         Mr. Souvannaseng moves for the production by the Government of the
28   following discovery and for the preservation of evidence. This request is not limited

                                               2                             22-CR-330-LL
Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.30 Page 3 of 11



1    to those items of which the prosecutor knows, but rather includes all discovery listed
2    below that is in the custody, control, care, or knowledge of the government or “closely
3    related investigative [or other] agencies.” United States v. Bryan, 868 F.2d 1032 (9th Cir.
4    1989); see generally Kyles v. Whitley, 514 U.S. 419 (1995).
5       I.      Specific Discovery Requests
6            Due to the nature and facts of this case, Mr. Souvannaseng makes the following
7    specific discovery requests:
8
                   1.      Opportunity to View, Inspect, and Photograph all Contraband
9                          Seized.
10           Mr. Souvannaseng requests an opportunity to view and photograph all
11   contraband allegedly confiscated in this case, both during the execution of the search
12   warrant and the car search. Mr. Souvannaseng moves this Court to order the
13   government to allow him to inspect and photograph any seized contraband pursuant
14   to Fed. R. Crim. P. 16(a)(1)(E).
15
                   2.      Any Discovery in the Government’s Possession Regarding the
16                         “Known Illegal Gambling Den” referenced in the Reports
17           The reports note that the car was stopped for leaving a known illegal gambling

18   den. Any discovery regarding how the officers had that knowledge is relevant to the

19   propriety of that stop.

20                 3.      The search warrant and probable cause statement/affidavit
                           underlying the warrant that was executed on January 27, 2022
21           The reports note that Mr. Souvannaseng was arrested because of contraband
22   discovered pursuant to the search warrant executed on January 27, 2022. Accordingly,
23   he requests that the warrant and PC statement/affidavit be turned over so that the
24   parameters of that warrant and probable cause underlying it are known.
25
                   4.      License & Registration Information for the Vehicle Mr.
26                         Souvannaseng was the Passenger in When He was Arrested
27           Mr. Souvannaseng was not the driver of the vehicle, nor the registered owner.

28   Information as to who was the registered owner is requested.


                                                    3                            22-CR-330-LL
Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.31 Page 4 of 11



1                 5.     Any patrol car camera footage from Mr. Souvannaseng’s arrest, or
                         information about why there is none.
2
                  6.     Any gunshot residue test results, DNA, or fingerprint analysis
3                        performed on the weapon and related policies and reports.
4                 7.     Any toxicology results, urine testing, or physical examination
                         conducted of Mr. Souvannaseng when he was arrested.
5
            Mr. Souvannaseng struggles with drug addiction. In the videos of his post-
6
     arrest statements made to SDPD, he appears incapacitated. Accordingly, any
7
     toxicology screens, urine tests, or any notes regarding his state of inebriation or
8
     incapacitation are relevant to the statements he made to the agents after being arrested.
9
10 B.      General Discovery Requests
11 7.      The Defendant’s Statements.               The Government must disclose to
12   Mr. Souvannaseng copies of any and all written or recorded statements made by him;
13   the substance of any statements (even if not written or recorded) made by him which
14   the Government intends to offer in evidence at trial; any response by the defendant to
15   interrogation; the substance of any oral statements which the Government intends to
16   introduce at trial and any written summaries of the defendant’s oral statements
17   contained in the handwritten notes of the Government agent; any response to any
18   Miranda warnings which may have been given to the defendant; and any other
19   statements by the defendant. Fed. R. Crim. P. 16(a)(1)(A). The Advisory Committee
20   Notes and the 1991 amendments to Rule 16 make clear that the Government must
21   reveal all the defendant’s statements, whether oral or written, regardless of whether
22   the Government intends to make any use of those statements.
23   8.    Arrest Reports, Notes and Dispatch Tapes.                Mr. Souvannaseng also
24   specifically requests that all arrest reports, notes and dispatch or any other tapes and
25   TECS records that relate to the circumstances surrounding him questioning and /or
26   arrest be turned over. This request includes, but is not limited to, any rough notes,
27   records, reports, transcripts or other documents in which statements of the defendant
28   or any other discoverable material is contained. This is all discoverable under Fed. R.

                                                 4                             22-CR-330-LL
Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.32 Page 5 of 11



1    Crim. P. 16(a)(1)(A) and Brady v. Maryland, 373 U.S. 83 (1963). See also Loux v.
2    United States, 389 F.2d 911 (9th Cir. 1968). Arrest reports, investigator's notes, memos
3    from arresting officers, dispatch tapes, sworn statements, and prosecution reports
4    pertaining to the defendant are available under Fed. R. Crim. P. 16(a)(1)(B) and (c)
5    Fed. R. Crim. P. 26.2 and 12(i). Preservation of rough notes is requested, whether or
6    not the Government deems them discoverable.
7    9.     Brady Material. Mr. Souvannaseng requests all documents, statements, agents’
8    reports, and tangible evidence favorable to the defendant on the issue of guilt and/or
9    which affects the credibility of the government’s case. Impeachment and exculpatory
10   evidence both fall within Brady’s definition of evidence favorable to the accused.
11   United States v. Bagley, 473 U.S. 667 (1985); United States v. Agurs, 427 U.S. 97 (1976).
12   10.    Any Information that may Result in a Lower Sentence under the
13   Guidelines. The Government must produce this information under Brady v. Maryland,
14   373 U.S. 83 (1963).
15   11.    The Defendant’s Prior Record. Evidence of a prior record is available under
16   Fed. R. Crim. P. 16(a)(1)(D), and Mr. Souvannaseng specifically requests a complete
17   copy of any criminal record alleged to be his.
18   12.    Any Proposed 404(b) Evidence. To the extent that there is any such evidence,
19   the Government must produce for Mr. Souvannaseng any evidence of prior similar

20   acts under Fed. R. Crim. P. 404(b) and “shall provide reasonable notice in advance of

21   trial . . . of the general nature” of any evidence the Government proposes to introduce

22   under Fed. R. Evid. 404(b) at trial. See United States v. Vega, 188 F. 3d 1150, 1154-1155

23   (9th Cir. 1999). Mr. Souvannaseng respectfully requests that such notice be given three

24   weeks before trial in order to give the defense time to adequately investigate and

25   prepare for trial.

26   13.    Evidence Seized. Evidence seized as a result of any search, either warrantless
     or with a warrant, is discoverable under Fed. R. Crim. P. 16(a)(1)(E).                 Mr.
27
     Souvannaseng specifically requests any itemization of and an opportunity to
28

                                                  5                               22-CR-330-LL
Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.33 Page 6 of 11



1    view any evidence seized by law enforcement as a result of his arrest.
2    14.    Request for Preservation of Evidence.              Mr. Souvannaseng specifically
3    requests that all dispatch tapes or any other physical evidence that may be destroyed,
4    lost, or otherwise put out of the possession, custody, or care of the government and
5    which relate to the arrest or the events leading to the arrest in this case be preserved.
6    This request includes, but is not limited to, the results of any fingerprint analysis, the
7    defendant’s personal effects, his vehicle, and any other evidence seized from the
8    defendant or any third party, including Kimberly Vega. It is requested that the
9    Government be ordered to question all the agencies and individuals involved in the
10   prosecution and investigation of this case to determine if such evidence exists, and if
11   it does exist to inform those parties to preserve any such evidence.
12   15.    Henthorn Material. Mr. Souvannaseng requests that the Assistant United
13   States Attorney (“AUSA”) assigned to this case oversee (not personally conduct) a
14   review of all personnel files of each agent involved in the present case, including each
15   agent involved with Mr. Souvannaseng’s arrest, and produce to him any
16   exculpatory information and impeachment material at least two weeks prior to trial
17   and one week prior to the motion hearing. See Kyles v. Whitley, 514 U.S. 437, 438 (1995)
18   (holding that “the individual prosecutor has a duty to learn of any favorable evidence
19   known to the others acting on the government’s behalf in the case, including the

20   police”); United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991); see also United States v.

21   Jennings, 960 F.2d 1488 (9th Cir. 1992) (AUSA may not be ordered to personally

22   conduct examination of records; appropriate government agency may review files and

23   notify AUSA of contents as long as AUSA makes the determination regarding material

24   to be disclosed); accord United States v. Herring, 83 F.3d 1120 (9th Cir. 1996). In addition,

25   the defendant requests that if the Government is uncertain whether certain

26   information is to be turned over pursuant to this request, that it produce such
     information to the Court in advance of the trial and the motion hearing for an in
27
     camera inspection.
28

                                                   6                               22-CR-330-LL
Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.34 Page 7 of 11



1    16.    Tangible Objects. Mr. Souvannaseng requests the opportunity to inspect,
2    copy, and test, as necessary, all other documents and tangible objects, including
3    photographs, books, papers, documents, alleged narcotics, fingerprint analyses,
4    vehicles, or copies of portions thereof, which are material to the defense or intended
5    for use in the government’s case-in-chief or were obtained from or belong to the
6    defendant. Fed. R. Crim. P. 16(a)(1)(E).
7    17.    Expert Witnesses. Mr. Souvannaseng requests the name, qualifications, and a
8    written summary of the testimony of any person that the government intends to call
9    as an expert witness during its case in chief. Fed. R. Crim. P. 16(a)(1)(G). Defendant
10   requests the notice of expert testimony be provided at a minimum of two weeks prior
11   to trial so that the defense can properly prepare to address and respond to this
12   testimony, including obtaining its own expert and/or investigating the opinions,
13   credentials of the Government’s expert and a hearing in advance of trial to determine
14   the admissibility of qualifications of any expert. See Kumho v. Carmichael Tire Co., 526
15   U.S. 137, 119 S.Ct. 1167, 1176 (1999) (trial judge is “gatekeeper” and must determine,
16   reliability and relevancy of expert testimony and such determinations may require
17   “special briefing or other proceedings”).
18   18.    Impeachment Evidence. Mr. Souvannaseng requests any evidence that any
19   prospective government witness has engaged in any criminal act whether or not

20   resulting in a conviction and whether any witness has made a statement favorable to

21   the defendant. See Fed. R. Evid. 608, 609 and 613; Brady, 373 U.S. at 83; United States

22   v. Strifler, 851 F.2d 1197, 1201-1202 (9th Cir. 1988); Thomas v. United States, 343 F.2d

23   49, 53-54 (9th Cir. 1965). This includes Heather Wright, the alleged complaining

24   witness, Kimberly Vega, the owner of the apartment, and the anonymous “eyewitness”

25   mentioned by Agent Boston, the local agent who initially arrested Mr. Souvannaseng.

26   19.    Evidence of Criminal Investigation of Any Government Witness. Mr.
     Souvannaseng requests any evidence that any prospective witness is under
27
     investigation by federal, state or local authorities for any criminal conduct. United States
28

                                                  7                               22-CR-330-LL
Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.35 Page 8 of 11



1    v. Chitty, 760 F.2d 425 (2d Cir. 1985).
2    20.       Evidence of Bias or Motive to Lie. Mr. Souvannaseng requests any evidence
3    that any prospective government witness is biased or prejudiced against him, or has a
4    motive to falsify or distort his testimony. Pennsylvania v. Ritchie, 480 U.S. 39, 57-58
5    (1987); United States v. Strifler, 851 F.2d 1197, 1201-1202 (9th Cir. 1988).
6    21.       Evidence Affecting Perception, Recollection, Ability to Communicate, or
7    Truth Telling. The defense requests any evidence, including any medical or
8    psychiatric report or evaluation, that tends to show that any prospective witness’ ability
9    to perceive, remember, communicate, or tell the truth is impaired, and any evidence
10   that a witness has ever used narcotics or other controlled substance, or has ever been
11   an alcoholic. See United States v. Strifler, 851 F.2d 1197, 1201-1202 (9th Cir. 1988).
12   22.       Witness Addresses. Mr. Souvannaseng requests the name and last known
13   address of each prospective government witness. See United States v. Cook, 608 F.2d
14   1175, 1181 (9th Cir. 1979) (defense counsel has equal right to talk to witnesses). The
15   defendant also requests the name and last known address of every witness to the crime
16   or crimes charged (or any of the overt acts committed in furtherance thereof) who will
17   not be called as a government witness, United States v. Cadet, 727 F.2d 1453 (9th Cir.
18   1984). This includes Kimberly Vega, Heather Wright, and the unnamed eyewitness,
19   but is not limited to them.

20   23.       Name of Witnesses Favorable to the Defendant. Mr. Souvannaseng

21   requests the name of any witness who made an arguably favorable statement

22   concerning the defendant, or who could not identify him or who was unsure of his

23   identity, or participation in the crime charged. This would include Kimberly Vega, but

24   would also include anyone else present at her apartment during Mr. Souvannaseng’s

25   arrest.

26   24.       Statements Relevant to the Defense. Mr. Souvannaseng requests disclosure
     of any statement relevant to any possible defense or contention that he might assert.
27
     United States v. Bailleaux, 685 F.2d 1105 (9th Cir.1982).
28

                                                  8                                 22-CR-330-LL
Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.36 Page 9 of 11



1    25.    Jencks Act Material. Mr. Souvannaseng requests production in advance of
2    trial of all material, including dispatch tapes, which the government must produce
3    pursuant to the Jencks Act, 18 U.S.C. § 3500 and Fed. R. Crim. P. 26.2. Advance
4    production will avoid the possibility of delay at trial to allow the defendant to
5    investigate the Jencks material. A verbal acknowledgment that “rough” notes
6    constitute an accurate account of the witness’ interview is sufficient for the report or
7    notes to qualify as a statement under § 3500(e)(1). Campbell v. United States, 373 U.S.
8    487, 490-92 (1963). In United States v. Boshell, 952 F.2d 1101 (9th Cir. 1991) the Ninth
9    Circuit held that when an agent goes over interview notes with the subject of the
10   interview the notes are then subject to the Jencks Act. See also United States v. Riley, 189
11   F.3d 802, 806-808 (9th Cir. 1999). Mr. Souvannaseng requests pre-trial disclosure of
12   such statements to avoid unnecessary recesses and delays for defense counsel to
13   properly use any Jencks statements and prepare for cross examination.
14   26.    Giglio Information & Agreements between the Government and
15   Witnesses. Pursuant to Giglio v. United States, 405 U.S. 150 (1972), Mr. Souvannaseng
16   requests all statements and/or promises, express or implied, made to any witness, in
17   exchange for their testimony in this case, and all other information which could be
18   used for impeachment.
19   27.    Agreements between the Government and Witnesses. Mr. Souvannaseng

20   requests discovery regarding any express or implicit promise, understanding, offer of

21   immunity, of past, present, or future compensation, or any other kind of agreement or

22   understanding, including any implicit understanding relating to criminal or civil income

23   tax, forfeiture or fine liability, between any prospective government witness and the

24   government (federal, state and/or local). This request also includes any discussion with

25   a potential witness about or advice concerning any contemplated prosecution, or any

26   possible plea bargain, even if no bargain was made, or the advice not followed.
     28.    Informants and Cooperating Witnesses.                Mr. Souvannaseng requests
27
     disclosure of the names and addresses of all informants or cooperating witnesses used
28

                                                  9                               22-CR-330-LL
Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.37 Page 10 of 11



1    or to be used in this case, and in particular, disclosure of any informant who was a
2    percipient witness in this case or otherwise participated in the crime charged against
3    Mr. Souvannaseng. The Government must disclose the informant’s identity and
4    location, as well as disclose the existence of any other percipient witness unknown or
5    unknowable to the defense. See Roviaro v. United States, 353 U.S. 52, 61-62 (1957). The
6    Government must disclose any information derived from informants which exculpates
7    or tends to exculpate the defendant.
8    29.    Bias by Informants or Cooperating Witnesses. Mr. Souvannaseng requests
9    disclosure of any information indicating bias on the part of any informant or
10   cooperating witness. Giglio, 405 U.S. at 150. Such information would include what, if
11   any, inducements, favors, payments or threats were made to the witness to secure
12   cooperation with the authorities.
13   30.    Personnel Records of Government Officers Involved in the Arrest. Mr.
14   Souvannaseng requests all citizen complaints and other related internal affairs
15   documents involving any of the immigration officers or other law enforcement officers
16   who were involved in the investigation, arrest and interrogation of Mr. Souvannaseng.
17   See Pitchess v. Superior Court, 11 Cal. 3d 531, 539 (1974). Because of the sensitive nature
18   of these documents, defense counsel will be unable to procure them from any other
19   source.

20   31.    Training of Relevant Law Enforcement Officers.                 Mr. Souvannaseng

21   requests copies of all written, videotaped or otherwise recorded policies or training

22   instructions or manuals issued by all law enforcement agencies involved in the case

23   (United States Customs Service, Border Patrol, DHS, etc.) to their employees

24   regarding: (1) the informing of suspects of their Constitutional rights; (2) the

25   questioning of suspects and witnesses.

26   32.    Residual Request. Mr. Souvannaseng intends by this discovery motion to
     invoke his rights to discovery to the fullest extent possible under the Federal Rules of
27
     Criminal Procedure and the Constitution and laws of the United States. He requests
28

                                                  10                             22-CR-330-LL
Case 3:22-cr-00330-LL Document 15-1 Filed 03/30/22 PageID.38 Page 11 of 11



1    that the Government provide him and his attorney with the above requested material
2    sufficiently in advance of trial to avoid unnecessary delay prior to cross examination.
3
     III.   Motion for Preservation of Evidence
4
            Mr. Souvannaseng requests an order for the U.S. Government and its agents to
5
     preserve the firearm seized in this case.
6
     IV.    Motion for Leave to File Further Motions
7
            Defense counsel requests leave to supplement the instant motion when more
8
     information is provided by the Government, and leave to file further motions and
9
     notices of defense based upon information gained in the discovery process.
10
     V.     Conclusion
11
            For the foregoing reasons, Mr. Souvannaseng respectfully requests that this
12
     Court grant these motions.
13
14
                                             Respectfully submitted,
15
16
      Dated: March 30, 2022                  s/ Samantha B. Jaffe
17                                           Federal Defenders of San Diego, Inc.
                                             Attorneys for Defendant
18                                           Saya Souvannaseng
                                             Email: Samantha_Jaffe@fd.org
19
20
21
22
23
24
25
26
27
28

                                                 11                           22-CR-330-LL
